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 ~AO       24513
                    (Rev. 9/00) Judgment             in a Criminal      Case
                    Sheet I
                                                                                                                                  ~C"~.SL~AK,u.s.
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                                                                                                                                                                  '-.J", ._ '" -ri •••
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                                                                                                                                  BY
                                         UNITED STATES DISTRICT caul{
                                                          SOUTHERN DISTRICT OF CALIFORNIA


                    UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                             v.                                         (For Offenses      Committed        On or After November                            I, 1987)

                               Hector Bustos-Chacon                                     CASE NUMBER: 07CR0279- W

                                                                                        Kenneth       J. Troiano
                                                                                        Defendant's   Attorney
 REGISTRATION               NO. 02700298

THE DEFENDANT:
X         pleaded   guilty to count(s)            six of the indictment

o         was found guilty on count(s)
          aflcr a pica of not guilty

          .Accordingly,      the defendant   is adjudged    guilty of such count(s),   which involve     the following      offense(s):
                                                                                                                                                            Count
Title & Section                                Nature of Offense                                                                                          Number(s)
8 USC 1324(a)(l)(A)(ii)                        Transportation     of Illegal Aliens                                                                           6
(v)(II)




         The defendant is sentenced as provided               in pages 2 through                J          of this judgment.      The sentence             is imposed pursuant
the Sentencing Reform Act of 1984.

o      The defendant         has been found not guilty on count(s)

X      Count(s)           two through    five of the indictment                          are     dismissed       on the motion    of the United States.

X    Assessment:          $100.00       wai ved
X    Fine ordered         waived.

             IT IS ORDERED           that the defendant    shall notify the United States attorney      for this district   within 30 days of any change of name,
residence.  or mailinptile address
to pay restitution.                 until shall
                            defendant      all fines,
                                                 notify restitution,
                                                          the court costs, and special
                                                                     and United   States assessments
                                                                                           attorney of imposed  by thischange
                                                                                                        any material    judgmentin the
                                                                                                                                    are defendant's
                                                                                                                                         fully paid.                             If ordered
                                                                                                                                                                                 economic
circumstances.


                                                                                       May 7. 2007
                                                                                       Date of ImpositiOl
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             Sheet 4-l'robation


DEFENDANT:                   Hector Bustos-Chacon
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CASE NUMBER:                 07CR0279- W
                                                                PROBA TION

       The defendant is hereby sentenced to probation for a term of 5 years.


                                                       MANDATORY CONDITIONS

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
For ojf'ellses committed Oil or after September /3. /994:
         The defendant shall refrain from any unlawful use ofa controlled substance. The defendant shall submit to one drug test within
15 days of placement on probation and at least two periodic drug tests thereafter.
o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse.

        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

           Drug testing requirements
           The defendant               will not
                           shall cooperate      exceed
                                            if and      submission
                                                   as directed in theofcollection
                                                                        more thanofeight drugsample,
                                                                                     a DNA     tests per month during
                                                                                                       pursuant        the term
                                                                                                                to 18 USC   3583(ofd).
                                                                                                                                    supervision.

        such fine Iforthis judgmentin imposes
                       restitution            a fine
                                      accordance     or the
                                                  with   a restitution
                                                             Schedule obligation,
                                                                       of Paymentsit shall be a in
                                                                                     set forth   condition  of probation that the defendant pay any
                                                                                                   this judgment.

         The defendant
with the special         shallimposed.
                 conditions    comply with the standard conditions that have been adopted by this court. The defendant shall also comply


                                      STANDARD CONDITIONS OF SUPERVISION

  I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
         of each month;
 3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)      the defendant shall support his or her dependents and meet other family responsibilities;
 5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
 6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
         of a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
          of any contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
          the permission of the court;
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant's compliance with such notification requirement.
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1\0 2458     (Rev. 9/00) Judgment in a Criminal Case
             Sheet 4 - Continued 2 - Probation

                                                                                                      Judgment-Page     __   3__   of   3
DEFENDANT:                   l'lcctor Bustos-Chacon
CASE NUMBER:                 07CR0279-W

                                            SPECIAL CONDITIONS OF SUPERVISION

I)         The defendant shall remain outside of the United States of America during the term of supervised release.
